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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA



CROWN COAL & COKE COMPANY,
          Plaintiff,

      v.                                  Civil Action No. 07-1208

COMPASS POINT RESOURCES, LLCi
JAMES H. HOYTi and COURTNEY
O. TAPLIN,
           Defendants.



                             MEMORANDUM and ORDER


                                                                        "2,~
Gary L. Lancaster
District Judge.                                                  June           2009

            This business dispute stems          from the creation of            the

defendant company, Compass Point Resources, LLC ("Compass Point") by

defendants James Hoyt and Courtney Taplin,             former employees of

plaintiff Crown Coal     &    Coke Company     ("Crown Coal").     Crown Coal

alleges that while employed with Crown Coal, defendants Taplin and

Hoyt created Compass Point, a competing business, and in doing so

diverted Crown Coal customers to Compass Point using Crown Coal's

confidential and proprietary business information.

            Crown Coal has alleged multiple claims against defendants

including: tortious interference with business relations, violation

of   the   Uniform   Trade    Secrets   Acts   of   Pennsylvania    and        Ohio,

violation of the Computer Fraud and Abuse Act,            18 U.S.C.      §     1030,

civil conspiracy, and conversion against all defendants and a claim

for breach of fiduciary duty against defendants Taplin and Hoyt
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[doc. no. 14].

                Defendants filed a counterclaim against Crown Coal [doc.

no.   33].          Defendants      contend    that     Crown   Coal     failed     to    pay

defendants Taplin and Hoyt commissions for business they secured

for Crown Coal and that Crown Coal improperly accessed defendants'

computers and obtained confidential information.                       Defendants assert

claims        for   unjust       enrichment,       promissory   estoppel,        breach    of

contract        implied     in    fact,   tortious      interference      with business

relationships, violation of the Computer Fraud and Abuse Act, 18

U.S.C.    §    1030, and libel.

                Crown Coal has moved for summary judgment on its own

breach of fiduciary duty claim and as to all six (6) of defendants'

counterclaims          [doc. no.     65].1     For the reasons set forth below,

Crown Coal's motion will be GRANTED in part and DENIED in part.



I.    BACKGROUND

                In our opinion dated March 31,                  2009     [doc.    no.    89],

disposing of defendants' motion for summary judgment, we set forth

the undisputed material facts of this case.                     We incorporate those

facts here.          Below, we set forth additional undisputed facts which

are material to Crown Coal's motion for summary judgment; these

addi tional         facts   were    not   material      to   defendants'     motion       for


Defendants also moved for summary judgment as to all of Crown
Coal's claims [doc. no. 57]. We denied defendant's motion in an
order dated March 31, 2009.

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summary judgment and, therefore, were not included in our March 31,

2009 opinion.

     A.   Defendants' Arrangement With Crown Coal

          Until    2006,   the commissions   that Crown Coal paid to

Taplin and Hoyt were calculated pursuant to an agreed-upon formula

[doc. no. 73 at    ~32].   The formula as well as other terms of the

defendants'    compensation package were governed by an agreement

memorialized in a memorandum dated November 17, 2003.        The November

17, 2003 memorandum provided:

     This letter will confirm our agreement reached November
     10, 2003 in the Pittsburgh office on the compensation
     package, which is as follows:

     Courtney O. Taplin and James H. Hoyt (Cleveland) will
     combine their efforts in a compensation package effective
     beginning January 1, 2003. This compensation package is
     NOT in perpetuity, and can be reviewed semi-annually by
     Crown Coal & Coke Company (CCC). CCC expects a positive
     cash flow from its sales personnel at all times.

          A.      CCC will pay CLEVELAND, once CLEVELAND has
                  covered 100% of     its  expense  (in   2002,
                  $360,000.00) plus $200,000.00 more than its
                  expense, 25% of all additional commissions.

                  1.   As example, if CLEVELAND's cost to CCC
                       for   the  year  is  $360,000.00,  then
                       CLEVELAND must return $360,000.00 to
                       cover its cost THEN another $200,000.00
                       in commissions before the 25% incentive
                       become applicable.

          B.      Salaries for Taplin/Hoyt will remain capped at
                  the present level through 2004 with any
                  Cleveland office increased expenses approved
                  in advance by Charles H. Muse Jr., or Chip
                  Muse or Albert C. Muse.

          C.      A line item will be added on COT's monthly

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                statement crediting COT income for his work on
                behalf of WTCO calculated on a 4% commission
                of total gross revenue*,      excluding that
                received from Mississippi Lime.       This is
                estimated to be +$80,000 for the year 2003.
                (* "Gross Revenue" is defined as all terminal
                revenue, including storage charges, less those
                items defined in "D".)

          D.    Losses, bad debts, interest expenses, and
                freight costs included in sales will be
                deducted from earned commissions.

[Doc. No. 69-2].

          In 2006,    the parties re-negotiated their agreement.

Crown Coal sent defendants Taplin and Hoyt a memorandum dated May

31, 2006 which provided as follows:

    This letter will confirm our agreement reached May 23,
    2006 in the Pittsburgh office on the compensation package
    which is as follows:

    Courtney O. Taplin and James H. Hoyt (CLEVELAND) will
    continue to combine their efforts in a compensation
    package effective January 1, 2006. This package will be
    reviewed annually by Crown Coal & Coke Company (CCC)

          A.    CCC will pay CLEVELAND, once CLEVELAND has
                covered 100% of its expenses       (in 2005,
                $387,651.99) plus $200,000 more than its
                expenses, 40% of all additional commissions.

          B.    Salaries:
                1.   Courtney   O.  Tapl in      2006 salary
                     increased to $125,800.08 per year from
                     2005 salary of $100,800.11.

                2.    James H. Hoyt - 2006 salary increased to
                      $119,199.96    from   2005    salary  of
                      $114,199.96   plus   any   increases  in
                      salary/bonus from laC/Rio Tinto/QIT.




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                           Example:     9 / 583.33 pm x 4 mos                      = $38 / 333.32
                                       10 1 108.33 pm x 8 mos                      = 80,866.64
                                                                                       $119 / 199.96
                                 or it will be:
                                    10 / 108.33 pm x 12 mos = $121 / 299.96

                           In addi tional  CCC will reimburse JHH thru
                                              l

                           expense account one half of the amount of his
                           Kirkland Country Club dues.

                C.         Losses  lbad debts    interest expenses and
                                                            l

                           freight costs included in sales will be
                           deducted from earned commissions.


[DoC. No. 67-3].             On August 16         1   2006       1   defendant Taplin sent Charles

Muse   I    Jr. a marked up copy of the parties/previous                                  l   November 2003

agreement suggesting changes [doc. no. 69-2].                                          Defendant Taplin/s

notes mention         l    inter alia   l   applying credit to Cleveland "at such

time as Gordon Reid ceases active.                          1I
                                                                     Id.

           B.   Crown Coal Accesses Defendants                             I   Computers

                Soon after defendants Taplin and Hoyt resigned                                     l   in May

and June of 2007 1 Crown Coal remotely accessed the laptop computers

it had provided to them.                    In mid-June               I    Crown Coal retrieved the

computers.

                When Crown Coal retrieved defendant HOY tis computer                                     l    it

contained Crown Coal/s business information as well as information

belonging to Iron are of Canada                            (\\IOCII)I          for whom defendant Hoyt

also served as a consultant.

           C.   Crown Coal/s september 4, 2007 Letter

                On September 4,             2007,          Crown Coal sent a letter to Sun

Coke Energy       1       Inc.   regarding defendant Taplin s                      1     departure.          The

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letter reads, in pertinent part:

              As you know, Courtney O. Taplin, a Senior Vice
              President of Crown Coal & Coke Company, has
              served as Crown Coal's representative for the
              sale of mid vol coal products from Powhatan
              Mid-Vol Coal Sales, LLC.   You may have heard
              that   Mr.   Taplin  recently   resigned   his
              employment with Crown Coal, in order to start
              Compass Point Resources LLC.

              Crown Coal has entered into an agreement,
              pursuant to which Mr. Taplin will continue to
              serve, until further notice, as Crown Coal's
              agent for the sale of Powhatan's mid vol coal
              to Sun Coke.    Mr. Taplin's transition from
              employee to agent status with Crown Coal will
              not otherwise affect any terms or conditions
              of Crown Coal's business relationship with Sun
              Coke.

[DOC.   No.   67-13].



II.     STANDARD OF REVIEW

              Fed.R.Civ.P. 56(c) provides that summary judgment may be

granted if,     drawing all    inferences    in favor of     the   non-moving

party, "the pleadings, the discovery and disclosure of material on

file, and any affidavits show that there is no genuine issue as to

any material fact and that the movant is entitled to judgment as a

matter of law."

              The mere existence of some factual dispute between the

parties will not defeat an otherwise properly supported motion for

summary judgment.       Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

247 (1986)     (internal quotation marks omitted).      Similarly, summary

judgment is improper so long as the dispute over the material facts

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is genuine.        Id.    In determining whether the dispute is genuine,

the court's function is not to weigh the evidence or to determine

the truth of the matter, but only to determine whether the evidence

of record is such that a reasonable jury could return a verdict for

the nonmoving party.            . at 248-49.

             To     demonstrate      entitlement           to     summary       judgment,

defendants, as the moving parties, are not required to refute the

essential elements of the plaintiff's cause of action.                       Defendants

need only point out the absence or insufficiency of plaintiff's

evidence offered in support of those essential elements.                          Celotex

Corp. v.    Catrett,      477 U.S.   317,       322-23    (1986) i Matsushita Elec.

Indus.    Co. v.    Zenith Radio Corp., 475 U.S.                574,   586-87    (1986).

Once that burden has been met, plaintiff must identify affirmative

evidence of record that supports each essential element of his

cause of action.         If plaintiff fails to provide such evidence, then

he is not entitled to a           trial,        and defendants are entitled to

summary judgment as a matter of law.

             It is on this standard that the court has reviewed the

motion for summary judgment and the response thereto.



III. DISCUSSION

             Crown Coal has moved for summary judgment as to its own

breach of     fiduciary      duty claim as         well    as    all   of   defendants'

counterclaims.       We will address each claim in turn.


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       A.     Crown Coal's Breach Of Fiduciary Duty Claim

              Crown Coal contends that it is entitled to judgment as a

matter of law as to its breach of fiduciary duty claim [doc. no.

65].   Defendants also moved for summary judgment as to Crown Coal' s

breach of fiduciary duty claim [doc. no. 57].                          As set forth in our

opinion dated March 31 1             2009, material issues of fact remain in

dispute as to this claim [doc. no. 89].                    Crown Coal's motion will,

therefore, be denied as to this claim.

       B.     Defendants' Unjust Enrichment Claim

              Defendants Taplin and Hoyt have alleged that they pursued

business leads for Crown Coal, which resulted in sales of coal and

coke for Crown Coal worth hundreds of millions of dollars,                                 for

which defendants have not been paid the "promised profit sharing.                           II




[Doc. No. 33 at       ~~   46, 48].         According to defendants, pursuant to

the doctrine of unjust enrichment, they are "entitled to recover

the amount equivalent to the value of the benefits conferred upon

Crown Coal./I       Id. at    ~49.

              Unjust enrichment is an equitable doctrine.                         Schenck v.

K.E.   David,      Ltd.,     666   A.2d     327,   328     (Pa.    Super.       1995).     The

elements      of   unjust     enrichment       are:      (1)   benefits        conferred    on

defendant      by plaintiff;          (2)    appreciation         of    such    benefits    by

defendant; and (3) acceptance and retention of such benefits under

such circumstances that it would be inequitable for defendant to

retain      the    benefit    without       payment      of    value.          Id. (citations


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omitted).      The most important factor to be considered in applying

the doctrine is whether the enrichment of the defendant is unjust.



              The doctrine of unjust enrichment is inapplicable when

the     relationship   between    parties      is    founded      upon   a   written

agreement or express contract.          Wilson Area Sch. Dist. v. Skepton,

895 A.2d 1250, 1254 (Pa. 2006).

             [T]his bright-line rule           embodies the
             principle that parties in contractual privity
             ... are not entitled to the remedies available
             under a     judicially-imposed quasi-contract
             (i.e.,   the parties are not entitled to
             restitution based upon the doctrine of unjust
             enrichment)    because   the  terms  of   their
             agreement (express and implied) define their
             respective rights, duties, and expectations.

Id.     (citations and quotations omitted) .

             Crown   Coal   argues    that    the    terms   of    the   employment

relationship between Taplin, Hoyt and Crown Coal were governed by

an express agreement that was memorialized in a memorandum dated

May 31, 2006 [doc. no. 67-3].         Therefore, according to Crown Coal,

the doctrine of unjust enrichment does not apply [doc. no. 66 at

51] .

              Defendants contend that there was no agreement between

them and Crown Coal because they never accepted the terms set forth

in the May 2006 memorandum           [doc.   no.    72 at 27].       We find that

regardless of whether defendants accepted the terms in the May 2006

memorandum, an agreement existed between defendants and Crown Coal.


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                InitiallYI we note that defendants have alleged in their

counterclaim that an agreement existed between them and Crown Coal

regarding profit sharing and that Crown Coal failed to abide by

that agreement:

                As part of the business arrangement with Hoyt
                and Taplin l Crown Coal agreed to remit to Hoyt
                and Taplin a share of profits for any and all
                sale agreements that Hoyt and Taplin arranged        l

                and from which Crown Coal derived payment.


[Doc. No. 33 at        ~11].   Defendants repeatedly allege that Crown Coal

has failed to pay them the "promised profit sharing.            II   Id. at   ~48.

               More importantlYI     the evidence shows that an agreement

regarding commissions existed.                Defendants do not dispute       that

until 2006      1   the commissions that Crown Coal paid to Taplin and Hoyt

were calculated pursuant to an agreed-upon formula [doc. no. 73 at

~32]   .     The formula,      as well as other terms of      the defendants'

compensation package, was governed by an agreement memorialized in

a memorandum dated November 171 2003 [doc. no. 69-2].                In 2006, the

parties re-negotiated their agreement.             In a memorandum from Crown

Coal to defendants Taplin and Hoyt dated May 31, 2006, Crown Coal

states:       "This letter will confirm our agreement reached May 23,

2006 in the Pittsburgh office on the compensation package                       "
[Doc. No. 67 - 3] .

               Defendants contend that they never agreed to the May 2006

terms.       On August 16, 2006, defendant Taplin sent Charles Muse, Jr.

a marked up copy of the parties' previous, November 2003 agreement

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suggesting changes [doc. no. 69-2].               According to defendants, the

August 16, 2006 notes constituted a counter-offer to the May 2006

terms.     Therefore, according to defendants, there was no May 2006

agreement.

              However, even if the May 2006 terms were not accepted by

defendants, an agreement still existed between the parties.                    If the

August 16, 2006 note constituted a counter-offer to the May 2006

terms, as defendants contend, then the parties' previous, November

2003 agreement was still in effect.            As such, one of two agreements

was in effect in 2006: the one memorialized in the November 2003

memorandum or the one memorialized in the May 2006 memorandum.

Therefore,     defendants'       claim for     unjust    enrichment    fails    as   a

matter of law.       See Wilson Area Sch. Dist., 895 A.2d at 1254.

     C.      Defendants' Promissory Estoppel Claim

             Defendants have alleged a promissory estoppel claim also

based upon Crown Coal's alleged failure to pay them promised profit

sharing      for   sales    of    coal   and    coke     they    had   arranged.

Specifically, defendant Taplin claims that Crown Coal promised to

credit     defendants'     Cleveland     office    for   all    of   Gordon    Reid's

accounts upon his retirement [doc. no. 72 at 27] .

             Crown Coal responds, without citing to the record, that

it did credit defendants' Cleveland office with Mr. Reid's accounts

after Mr. Reid retired in September of 2006 [doc. no. 66 at 53] .

Because Crown Coal has failed to set forth any facts of record


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proving that it did credit defendants as promised, issues of fact

remain in dispute as to defendants'                       promissory estoppel claim.

Crown Coal's motion will, therefore, be denied as to this claim.

     D.         Defendants' Breach Of Implied Contract Claim

                Defendants claim that Crown Coal breached an implied

contract of employment with them.                    This claim is also based upon

Crown Coal's alleged failure to pay Hoyt and Taplin promised profit

sharing     for       sales     of    coal    and     coke        they   had    arranged.

Specifically, defendants allege that they "reasonably expected to

receive a share of profits [from] the sales of coke and coal that

resulted from their provision of services"                          and that Crown Coal

"unilaterally reduced and rescinded these payments after Hoyt and

Taplin had provided their services."                      [Doc. No. 33 at "          60, 63].

                "An    express        contract       is     one     where      the    parties

specifically express the terms of the agreement, either orally or

in writing."          Crawford'sAutoCtr.! Inc. v. Commw. of Pa., 655A.2d

1064, 1066 (Pa. Commw. ct. 1995)                   (citations omitted).          A contract

implied-in-fact arises when parties agree upon the obligation to be

incurred, but their intention is not expressed in words and is,

instead,    inferred from their actions in light of the surrounding

circumstances.          Id.    (citations omitted) .

                As stated above,           one of two express agreements was in

effect     in    2006:        the    one   memorialized        in    the    November      2003

memorandum or the one memorialized in the May 2006 memorandum.                              As


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such,       defendants'       claim should be          for breach of           contract,       not

breach        of    implied    contract. 2          Defendants'     breach           of    implied

contract claim must, therefore, be dismissed.                       Crown Coal's motion

will be granted as to this claim.

        E.         Defendants' Tortious Interference Claim

                   Defendants contend that Crown Coal tortiously interfered

with        defendant      Hoyt's    relationship       with      IOC.         Specifically,

defendants claim that when Crown Coal retook possession of their

computers,          Crown     Coal   obtained       defendant      Hoyt's          confidential

proprietary business information related to IOC and that Crown Coal

has refused to return said information [doc. no. 33 at 70- 72].

                   The elements of a claim for tortious interference with

contractual          relations are:      (1)     the    existence of           a     contractual

relation between the plaintiff and a third party;                              (2) purposeful

action of the defendant specifically intended to harm the existing

relation;          (3) the absence of privilege to do             SOi    and       (4)   resulting

damages.           See Reading Radio, Inc. v. Fink, 833 A.2d 199, 211 (Pa.

Super. 2003).

                   Crown   Coal   contends      that    this    claims         fails      because

defendant          Hoyt    cannot    prove     damages.    We     agree.             During    his

deposition,          defendant Hoyt testified that,               despite Crown Coal's

        2

We note that defendants have made no attempt to alternatively
pursue a breach of express contract claim.   In their response to
Crown Coal's motion for summary judgment, defendants do not argue
that Crown Coal breached any express agreement [doc. no. 72 at 26­
27] .

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possession of IOC's information, he was still able to perform his

duties for IOC:

          Q:           Did you talk to IOC and tell them
                  Crown Coal has some of my information
                  and, as a result of that, I'm not able to
                  properly perform my duties for IOC?

          A:      No, because I can properly perform my
                  duties for IOC.

          Q:      So the fact that you don' t have this
                  information is not interfering with your
                  ability to perform your work for IOC?

          A:      No, it is not . . . .

[Doc. No. 67-4 at 197].      Defendant Hoyt further admitted that his

reputation with IOC was "good" prior to returning the computers to

Crown Coal and was still "good" after returning the computers to

Crown Coal.    Id. at 198.

          Despite his testimony,          defendant Hoyt claims to have

suffered damage to his reputation.          He articulated the damage to

his reputation as follows:

          Because whereas before I could go to my
          computer and generate basic information,
          historic information, I now have to go to IOC
          and have that staff up there redo it, whereas
          I could have done it in the past on my own.

          So, therefore, it is a waste of time, it is a
          waste of other people's time, and to me, it is
          my reputation as     I   perceive   it  that's
          important. That's how I look at it. It is my
          responsibility to get that material back so
          I'm more efficient.      Whether or not they
          recognize my lack of efficiency as a result of
          this   is   irrelevant.      So   it   is   my
          interpretation of how I do my job and the
          efficiency under which I do it that I feel has

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                been damaged.

Id. at 198-99.          This reasoning is not sufficient to prove damages.

Defendant Hoyt must prove "actual harm to [his] reputation.                       1I
                                                                                         See

Pawlowski v. Smorto,          588 A.2d 36, 40       (Pa. Super.     1991)    ("actual

damages must result from the defendant's conduct before recovery

can be had")          (citing Birl v. Phila. Elec. Co., 167 A.2d 472, 474

(Pa.1960)).

                Defendant Hoyt has failed to come forward with evidence

of     actual    harm    to his   reputation.       Crown Coal's motion will,

therefore,       be     granted as   to   defendants'       claim   of   intentional

interference with contractual relations.

        F.      Defendants' Computer Fraud and Abuse Act Claim

                The Computer Fraud and Abuse Act             (CFAA) ,    18 U. S. C.         §


1030, is a criminal statute which penalizes unauthorized access to

computers.        See P.C. Yonkers,       Inc. v. Celebrations The Party And

Seasonal Superstore, LLC, 428 F.3d 504, 510 (3d Cir. 2005).                            There

is, however, a civil remedy available to "[a]ny person who suffers

damage or loss by reason of a violation of" the CFAA.                    18 U.S.C.           §

1030(g).        "A civil action for a violation               may be brought only

if the conduct involves 1 of the factors set forth in subclauses

(I),    (II),    (III),    (IV) or (V) of subsection (c) (4) (A)         (i)./1        1d.

The subclauses of           subsection    (c) (4) (A) (i)   provide in pertinent

part:




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            (I) loss to 1 or more persons during any 1
            year period ... aggregating at least $5,000 in
            value;

            (II)  the modification or      impairment, or
            potential modification or impairment, of the
            medical examination, diagnosis, treatment, or
            care of 1 or more individuals;

            (III) physical injury to any personi

            (IV) a threat to public health or safety;

            (V) damage affecting a computer used by or for
            an entity of the United States Government in
            furtherance of the administration of justice,
            national defense, or national security[.]

18 U.S.C. § 1030{c} (4) (A) (i).

            The only potentially applicable factor here is factor

(I), "loss" during anyone year period aggregating at least $5,000

in value.

            The term "loss" is defined as follows:

             [A]ny reasonable cost to any victim, including
            the   cost   of  responding    to   an offense,
            conducting a damage assessment, and restoring
            the data, program, system, or information to
            its condition prior to the offense, and any
            revenue    lost,  cost    incurred,   or  other
            consequential damages incurred because of
            interruption of service[.l

18 U.S.C.   §   1030(e) (II).

            Defendants     Taplin   and   Hoyt   allege       that   Crown   Coal

violated the CFAA when it remotely accessed their computers in May

and June of 2007      [doc. nos. 33 at    ~83i   73 at   ~~   235, 236].     With

regard to damages, without citing to the record or to any case law,

defendants claim, "Colcarbon's damages from Crown Coal's access to

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its   communications        with        clients       after      May       31,     2007,    exceeded

$5,000.00 in losses of potential business opportunities."                                           [Doc.

No.    72].         Defendants'         alleged           loss   of        potential        business

opportunities        is    not    the    type        of    \\ loss"    contemplated            by    the

statute.

              According to the CFAA, lost "revenue" constitutes "loss"

if it is incurred \\because of interruption of service."                                    18 U.S.C.

§   1030(e) (11).     Therefore, if defendants had lost revenue because

their computers were inoperable,                     that would be the type of lost

revenue contemplated by the statute.                       Defendants, however, are not

claiming      to    have     lost       money        because          their       computers         were

inoperable.          Rather,      they     are       claiming         to    have        been    denied

potential     business       opportunities            as    a    result          of    Crown    Coal's

unauthorized access.             This alleged loss of business opportunities

is simply not compensable under the CFAA.                        See Nexans Wires S .A. v.

Sark-USA, Inc., 319 F.Supp.3d 468, 477 (S.D.N.Y. 2004), aff'd, 166

Fed. App.     559    (2nd Cir. 2006)         (holding that lost revenue due to

lost business opportunity does not constitute                                    \\loss"   under the

CFAA)i    Chas S. Winner.         Inc., v.        Polistina, No.                 06-4865,      2007 WL

1652292, *4 (D.N.J. June 4, 2007)                    (holding that loss under the CFAA

must pertain to a cost of investigating or remedying damage to a

computer,     or a cost incurred because the computer's service was

interrupted) .        Crown Coal's motion for                     summary             judgment will,

therefore, be granted as to this claim.


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        G.     Defendants' Libel Claim

               Defendants'       sixth and       final   counterclaim     is   one   for

libel.       Defendants allege that on or about September 4, 2007, Crown

Coal published false statements regarding defendant Taplin [doc.

no.   33 at     ~86].    Crown Coal argues that defendants'               libel claim

must be dismissed because: (1) the allegedly libelous communication

was not libelous; and (2)              defendant Taplin cannot establish any

damages as a result of the communication at issue                   [doc no. 66 at

60-61] .

               Defendants have, apparently, abandoned this claim as they

have not responded to Crown Coal's argument [doc. no. 72].                     When an

adverse party fails to respond to a summary judgment motion, Rule

56(e)    requires the court to grant the motion "if appropriate."

Anchorage Assocs. v. V.I. Bd. of Tax Review, 922 F.2d 168, 175 (3d

Cir. 1990)      (quoting Fed.R.Civ.P. 56(e)).            We find summary judgment

appropriate here.

               "Libel is the malicious publication of printed or written

matter which tends to blacken a person1s reputation and expose him

to public hatred, contempt or ridicule."                   Tucker v. Phila. Daily

News, 848 A.2d 113, 123-24 (Pa. 2004)                (citations omitted).        In an

action for defamation or libel,              the plaintiff has the burden of

proving the defamatory character of the communication.                    Id. (citing

42 Pa. Con. Stat. Ann.           §   8343(a)).     If the challenged publication

is    not    capable    of   a   defamatory meaning,        the   claim    should be


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dismissed.

             The communication at issue is a September 4, 2007 letter

from Crown Coal to Sun Coke Energy, Inc.         [Doc. No. 67 -13].   Nothing

in the letter, set forth in pertinent part above, tends to blacken

defendant    Taplin I s   reputation or expose him      to public     hatred,

contempt     or    ridicule.     The    letter   contains    no   defamatory

statements.       Defendant Taplin's claim for libel must, therefore, be

dismissed.



IV.   CONCLUSION

             For the foregoing reasons, Crown Coal's motion for

summary judgment [doc. no. 65] will be granted in part and denied

in part.     An appropriate order follows.




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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA



CROWN COAL & COKE COMPANY,
          Plaintiff,

        v.                                   Civil Action No. 07-1208

COMPASS POINT RESOURCES, LLCi
JAMES H. HOYTi and COURTNEY
O. TAPLIN,
           Defendants.



                                     ORDER

             AND NOW, this   ~j     day of June, 2009, upon consideration

of plaintiff's motion for summary judgment                [doc. no.           65],   IT IS

HEREBY ORDERED that the motion is GRANTED in part and DENIED in

part.        Plaintiff's   motion     is   GRANTED       as       to    the    following

counterclaims of defendants: unjust enrichmentj breach of implied

contracti      tortious    interference      with       contractual           relationsj

Computer Fraud and Abuse Act claim, 18 U.S.C.                 §    1030j and libel.

Plaintiff's motion is DENIED as to defendants'                         counterclaim of

promissory estoppel and as to plaintiff's breach of fiduciary duty

claim.


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cc:     All Counsel of Record
